
Upon consideration of the petition for discretionary review, filed by Defendants (Michael J. Rosner, M.D. and Michael J. Rosner, M.D., P.A.) on the 26th of July 2017 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Allowed by order of the Court in conference, this the 28th of September 2017."
Accordingly, the new brief of the Defendants shall be filed with this Court not more than 30 days from the date of certification of this order.
